Case 2:13-cr-06070-SAB ECFNo.58 _ filed05/21/14 PagelD.243  Pagelofi1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF WASHINGTON

Post Office Box 2208
WM. FREMMING NIELSEN Spokane, Washington 99210-2208
Senior Judge Telephone 509.458, 5290

Facsimile 509.458, 529]
May 21, 2014

Designation and Sentence Computation Center
Grand Prairie Office Complex
United States Armed Forces Reserve Complex

346 Marine Forces Drive
Grand Prairie, Texas 75051

Re: Kenneth Richard Rowell
Case No. 2:13-CR-6070-WEN-1

Dear Sir or Madam:

On May 19, 2014, Mr. Rowell was sentenced to 120 months on his conviction of a
drug charge.

The Defendant is a longtime resident of Eastern Washington and requests that his
incarceration be served at the Sheridan, Oregon facility to enable visitation. He
acknowledges that he has a drug abuse problem of longstanding and for this reason
does request the opportunity to be able to participate in the BOP 500 hour drug
treatment program.

The Court feels both requests are reasonable and concurs with them.
Very truly yours,
ZY 1 Ca-—_
Wim. remming Nielsen
L14\13-6070;jIk Senior U.S. District Judge
o Rick L. Hoffman

Alexander C. Ekstrom
Sean E. Carter
